         Case 20-00154-ELG           Doc 60 Filed 03/10/21 Entered 03/10/21 15:21:52                        Desc
                                    Order/Ntc Disclos Stmt Hrg Page 1 of 1
DSCSTHRG (02/03)




                                             United States Bankruptcy Court for
                                                 the District of Columbia
                                          E. Barrett Prettyman U. S. Courthouse
                                            333 Constitution Ave, NW #1225
                                                 Washington, DC 20001
                                                      (202) 354−3280
                                                  www.dcb.uscourts.gov


In Re                                                                                       Case No. 20−00154−ELG
Walter Leroy Peacock
Debtor                                                                                      Chapter 11

                   ORDER AND NOTICE FOR HEARING ON DISCLOSURE STATEMENT

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   TO THE DEBTOR, ITS CREDITORS AND OTHER PARTIES OF INTEREST:

   A disclosure statement and a plan under Chapter 11 have been filed by the debtor on 3/9/21.

IT IS ORDERED AND NOTICE IS GIVEN THAT:

   1. The hearing to consider the approval of the disclosure statement (including any amendments or revisions
thereto) shall be held on the following:

   Date: 4/14/2021
   Time: 11:00 AM
   Location: Courtroom 1, U.S. Courthouse, 333 Constitution Avenue, Washington, DC 20001



   2. All objections to the disclosure statement shall be filed and served pursuant to Rule 3017(a) prior to the hearing.

    3. At least 28 days prior to the above hearing date, the proponent of the plan shall mail a copy of this Order and
Notice to all creditors, equity holders, and other parties in interest and shall transmit the disclosure statement and plan
to the debtor, trustee, each committee appointed pursuant to 11 U.S.C. Section 1102, any creditors listed as holding
claims entitled to priority under 11 U.S.C. Section 507(a)(7), the Securities and Exchange Commission and any party
in interest who has requested or requests in writing a copy of the disclosure statement and plan. A certificate of
mailing shall be filed within fourteen (14) days from the date of this Order.

   4. Requests for copies of the disclosure statement and plan shall be mailed to:

Brett Weiss
The Weiss Law Group, LLC
6404 Ivy Lane, Suite 650
Greenbelt, MD 20770
Dated: 3/10/21                                               For the Court:
                                                             Angela D. Caesar
                                                             BY: am
